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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:09-cr-00222-11

MICHAEL LLOYD STEVENS,

                              Defendant.



                          MEMORANDUM OPINION AND ORDER

       Pending before the Court is Defendant Michael Lloyd Stevens’s Motion for a New Trial

[Docket 2146], filed on August 13, 2010. The Government filed its Response [Docket 2151] on

August 20, 2010. Defendant’s motion is now ripe for adjudication.

                       I. BACKGROUND AND PROCEDURAL HISTORY

       Defendant Michel Lloyd Stevens is one of fifty-five members and associates of the Pagans

Motorcycle Club (PMC) charged in a sweeping forty-four count indictment. A pared-down twenty-

nine count superseding indictment was returned on February 2, 2010. Defendant is charged in Count

Four of the superseding indictment, which charges him with conspiring to retaliate against a witness

in violation of 18 U.S.C. § 1513(f) and § 1513(b)(2). Shortly after the return of the superseding

indictment, Defendant and the Government reached a plea agreement. The parties filed a joint

memorandum in support of the factual basis for Defendant’s guilty plea on April 9, 2010 [Docket

1515]. On June 10, 2010, the Court held a guilty plea hearing, at which time the defendant indicated

that he no longer wished to enter a plea of guilty. Defendant’s case was tried before a jury on July
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22 and 23, 2010, which resulted in a hung jury and a mistrial. Defendant was again tried before a

jury on July 29 and 30, 2010, which produced a guilty verdict.

                                      II. LEGAL STANDARD

       “Upon the defendant’s motion, the court may vacate any judgment and grant a new trial if the

interest of justice so requires.” Fed. R. Crim. P. 33(a). Where the motion challenges the weight of

the evidence, a court has much broader discretion than when ruling on a motion for judgment of

acquittal. United States v. Arrington, 757 F.2d 1484, 1485 (4th Cir. 1985). Thus, a court is not

required to view the evidence in the light most favorable to the Government, and it may assess the

credibility of witnesses as it sees fit. Id. “When the evidence weighs so heavily against the verdict

that it would be unjust to enter judgment, the court should grant a new trial.” Id.

                                          III. ANALYSIS

       A.      Admissibility of Stipulation of Facts

       Defendant’s primary contention is that the Court impermissibly admitted into evidence the

stipulation of facts that was attached to his plea agreement with the Government. In essence, the

Defendant is asking the Court to reconsider its prior evidentiary ruling on this issue. The Court

declines such reconsideration and affirms the admission of Defendant’s stipulation during the

Government’s case-in-chief.

       Federal Rule of Evidence 410 restricts the admissibility of a withdrawn guilty plea as well

as “any statement made in the course of plea discussions.” Fed. R. Evid. 410(4). However, absent

fraud, coercion, or “some affirmative indication that the agreement was entered into unknowingly

or involuntarily, an agreement to waive the exclusionary provisions of [Rule 410] is valid and

enforceable.” United States v. Mezzanatto, 513 U.S. 196, 210 (1995). Despite this broad language,


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Defendant correctly points out that neither the Mezzanatto decision—which dealt with a Rule 410

waiver for impeachment purposes—nor any decision of the Fourth Circuit has held that a Defendant’s

Rule 410 waiver permits the introduction of his plea statements in the Government’s case-in-chief.

Nonetheless, the Supreme Court’s discussion and reasoning in Mezzanatto, as well as precedent from

other circuits on this issue, assure the Court that introduction of the Defendant’s stipulation of facts

in the Government’s case-in-chief was permissible. As the Fifth Circuit recently held:

       Now presented with a case-in-chief waiver . . . we can find no convincing reason for
       not extending Mezzanatto’s rationale to this case. Justice Thomas, writing for the
       Mezzanatto majority, set forth a framework for analyzing plea-statement waiver [sic].
       He first discerned a “background presumption that legal rights generally, and
       evidentiary provisions specifically, are subject to waiver by voluntary agreement of
       the parties.” Thus, without affirmative indication that Congress intended to proscribe
       waiver of statutory protections, including evidentiary rules, voluntary agreements to
       waive these protections are presumptively enforceable. As for [Rule 410], Justice
       Thomas found no indication of congressional disfavor towards waiver, either in the
       rules’ text or in their attendant Advisory Committee’s Notes. Against this backdrop,
       Justice Thomas then explained that courts should examine the public policy
       justifications, if any, for departing from the norm.

United States v. Sylvester, 583 F.3d 285, 289-90 (5th Cir. 2009) (internal citations and footnotes

omitted); see also United States v. Burch, 156 F.3d 1315, 1320-21 (D.C. Cir. 1998) (similar summary

of Mezzanatto framework).

       The Mezzanatto Court’s finding that Congress did not intend to proscribe waiver of

evidentiary rules applies with equal force to this case. Rule 410 does not distinguish between using

plea statements for rebuttal purposes or in the government’s case-in-chief, and the Mezzanatto Court

did not observe such a distinction anywhere in the Federal Rules of Evidence or the Advisory

Committee’s Notes. Instead, Justice Thomas, joined by six Justices, reached the broader conclusion

that Congress expressed no disfavor toward the waiver of Rule 410. Mezzanatto, 513 U.S. at 203-04

(“Because [Rule 410] was enacted against a background presumption that legal rights, and

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evidentiary provisions specifically, are subject to waiver by voluntary agreement of the parties, we

will not interpret Congress’ silence as an implicit rejection of waivability.”).

        Finding no congressional intent to forbid waiver of Rule 410's protections, the Mezzanatto

Court turned to matters of public policy, specifically mentioning and rejecting three considerations

in its analysis. This Court follows the Supreme Court’s lead.

        First, the Mezzanatto Court noted that some evidentiary provisions are “so fundamental to the

reliability of the fact-finding process that they may never be waived.” Id. at 204 (citing United States

v. Josefik, 753 F.2d 585, 588 (7th Cir. 1985) (“[I]f the parties stipulated to trial by 12 orangutans the

defendant’s conviction would be invalid notwithstanding his consent.”)). The Court ultimately

concluded, however, that enforcing Rule 410 waivers would not diminish the fact-finding process,

stating that “admission of plea agreements for impeachment purposes enhances the truth-seeking

function of trials and will result in more accurate verdicts.” Id. While the waiver at issue in

Defendant’s case encompasses use of plea statements in the Government’s case-in-chief, and indeed

the Government so used Defendant’s stipulation, such use does not diminish the fact-finding process.

As the Fifth Circuit pointed out “to ignore relevant evidence of culpability simply because that

evidence was discovered during the course of plea negotiations would arguably undermine the truth-

seeking function of our criminal justice system.” Sylvester, 583 F.3d at 294 (emphasis in original).

The Court agrees and adopts the Fifth Circuit’s reasoning.

        Second, the Mezzanatto Court acknowledged that Rule 410 waivers may, in some

circumstances, discourage negotiation between the Government and defendants in the first place. 513

U.S. at 207. However, the waiver at issue in this case was not a condition of entering negotiations;

it was a bargained-for provision of the consensual agreement the parties reached from those


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negotiations. Defendant was fully protected by Rule 410 during negotiations with the Government,

and as such, it is difficult to see how a waiver in the final agreement in any way threatens candid and

voluntary plea discussion.

       Third and finally, the Mezzanatto Court noted that the disparity of bargaining power between

the prosecutor and the defendant in many criminal cases may militate against enforcing evidentiary

waivers. See id. at 209. In dismissing this policy argument, the Court stated “[t]he mere potential

for abuse of prosecutorial bargaining power is an insufficient basis for foreclosing negotiation

altogether.” Id. at 210. No actual abuse is cited by Defendant in this case, and Defendant’s motion

does not cite fraud or coercion as a reason he entered the plea agreement or signed the stipulation of

facts. Indeed, the plea agreement signed by Defendant states explicitly that his waiver of Rule 410

is made “knowingly and voluntarily.” Thus, no policy reasons prohibit the Court from enforcing

Defendant’s Rule 410 waiver and admitting the stipulation of facts into evidence in the Government’s

case-in-chief.

       B. Voluntariness

       Defendant also urges the Court to reject the stipulation of facts because it was never formally

accepted by the Court. Whether the Court accepts a plea agreement or not, it is to be interpreted

according to contract law and each party should receive the benefit of its bargain. See United States

v. Dews, 551 F.3d 204, 214 (4th Cir. 2008) (“A plea agreement is a contract between the parties and

is binding on them according to its terms.”). Furthermore, the waiver at issue in Mezzanatto was not

part of a formal plea agreement at all, much less one accepted by the court in that case.1 Nonetheless,



1
 The waiver in Mezzanatto was an prerequisite to entering plea negotiations in the first place. See
513 U.S. at 198.

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the Supreme Court upheld the enforcement of that waiver. Accordingly, because the waiver in this

case was entered into knowingly and voluntarily, it will be enforced.

        The Defendant also argues that “[i]t was a violation of substantive due process to permit the

government to meet their burden by the introduction of a stipulation of facts . . . because the elements

which the government must prove have changed since the time the defendant signed the stipulation.”

(Docket 2146 at 2.) This assertion refers to the Court’s June 3, 2010, memorandum opinion, in which

the Court noted an outstanding question regarding the scienter element of 18 U.S.C. § 1513, the

statute Defendant is accused of violating. See United States v. Barbeito, No. 2:09-cr-222, 2010 WL

2243878, at *42 (S.D. W. Va. June 3, 2010). The uncertainty in that statute is whether the

Government must prove that Defendant knew the intended victim communicated with federal law

enforcement as opposed to state, local, or foreign law enforcement. In the June 3 opinion, the Court

did not, as Defendant suggests, hold knowledge of federal involvement to be an element of the crime.

Instead, it was noted that the Government “elected to err on the side of caution” by “represent[ing]

that [it] intends to prove that Defendants were aware of the involvement of federal authorities.” The

Court notes that, in light of the fact that the Government’s only evidence at trial directly showing

Defendant’s knowledge of federal involvement was his stipulation of facts, it is at least possible that

the Government’s representation on this point was made precisely because Defendant affirmatively

conveyed such knowledge in the final plea agreement reached by the parties and executed in March

2010. Furthermore, regardless of any alteration in the elements of the crime resulting from the

Court’s June 3 memorandum opinion, the Defendant agreed to the facts contained in the stipulation

attached to the plea agreement. The only discernable prejudice to Defendant is that he possibly did

not scrutinize the portion of the stipulation of facts relating to his knowledge of the federal character


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of law enforcement involved as closely as he otherwise would have. However, whether his

knowledge of the federal character of law enforcement was construed as an element of § 1513 or not,

the factual statements attached to the plea agreement were unconditionally adopted by Defendant.

The Court sees no reason why Defendant should not be held to those facts he adopted in the plea

agreement with the Government. The fact is that Defendant willingly agreed to this now important

fact when it was, arguably, less important. His attempt to back out of that fact now does little to

enhance the credibility of his contentions.

        The plea agreement itself states in clear terms that Defendant understands and voluntarily

agrees to the terms of the plea agreement, including the stipulation of facts. Defendant’s signature

immediately follows that proclamation. Furthermore, Defendant signed the plea agreement by his

own volition in the presence of counsel. On this inquiry, there is no evidence that the plea agreement

was entered unknowingly or involuntarily, nor any evidence that it was the product of fraud or

coercion. The arguments Defendant raises in his motion do little to establish otherwise. Contrary

to the tenor of Defendant’s challenge, the facts as Defendant swore to them in the plea agreement

carry no less weight simply because the Government offered to prove an additional element of the

crime at trial.

        C.        Sufficiency of Evidence

        Although not explicitly argued, Defendant’s Motion for New Trial clearly implicates the

sufficiency of the evidence supporting his conviction.2 The Court perceives this argument to

challenge the sufficiency of the evidence as it relates to Defendant’s knowledge that Vincent Morris



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   See Docket 2146 at 2 (“It is likely that the case would not have gone to the jury without [the
stipulation of facts].”).

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was cooperating with federal law enforcement (as opposed to state or local law enforcement). The

only direct evidence that Defendant had knowledge that Morris was communicating with federal law

enforcement comes from his stipulation of facts.3 The Court has already held that the stipulation of

facts was properly admitted during the course of the Government’s case-in-chief. The only remaining

consideration is whether the stipulation, which was largely uncorroborated on the element of

Defendant’s knowledge that federal law enforcement was involved, can maintain a conviction.

       Defendants who challenge the sufficiency of the evidence to sustain their conviction “must

overcome a heavy burden.” United States v. Hoyte, 51 F.3d 1239, 1245 (4th Cir. 1995). A court

must uphold a jury’s verdict if there is substantial evidence to support it. Glasser v. United States,

315 U.S. 60, 80 (1942). “[I]n the context of a criminal action, substantial evidence is evidence that

a reasonable finder of fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.” Burgos, 94 F.3d at 862.

       “It is a settled principle of the administration of criminal justice in the federal courts that a

conviction must rest upon firmer ground than the uncorroborated admission or confession of the

accused.” Wong Sun v. United States, 371 U.S. 471, 488-89 (1963). In order to sufficiently

corroborate a defendant’s statements, the Government must “introduce substantial independent

evidence which would tend to establish the trustworthiness of the [defendant’s] statement.” Opper

v. United States, 348 U.S. 84, 93 (1954). However, the Government is not required to introduce



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   In its opposition memorandum, the Government lists other evidence that demonstrates such
knowledge by other members of the PMC and LRMC. However, this defendant was not a member
of the PMC or any support club, although he was convicted of a conspiracy with some such club
members, and there was evidence that he associated with members of the Huntington chapter of the
LRMC, of which his brother, Richard Stevens, was president. Thus, as to this defendant this
evidence is circumstantial, at best.

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corroborative evidence that establishes every element of the crime charged beyond a reasonable

doubt. See Smith v. United States, 348 U.S. 147, 156 (1954) (“[C]orroborative evidence does not

have to prove the offense beyond a reasonable doubt, or even by a preponderance, as long as there

is substantial independent evidence that the offense has been committed, and the evidence as a whole

proves beyond a reasonable doubt that the defendant is guilty.”). Instead, “extrinsic proof [i]s

sufficient which merely fortifies the truth of the confession, without independently establishing the

crime charged.” United States v. Abu Ali, 528 F.3d 210, 237 (4th Cir. 2008) (quoting Wong Sun, 371

U.S. at 489). “All that is required . . . is that there be sufficient corroboration of the confession (or

admission) to indicate that it is trustworthy, but the corroborating evidence need not, itself, establish

every element of the offense.” United States v. Waller, 326 F.2d 314, 315 (4th Cir. 1963) (per

curiam). Thus, the government must “establish each element of an offense but may do so ‘by

independent evidence or corroborated admissions,’ and one ‘mode of corroboration is for the

independent evidence to bolster the confession itself and thereby prove the offense through the

statements of the accused.’” Abu Ali, 528 F.3d at 235 (quoting Smith, 348 U.S. at 156).

        In order to secure a conviction under Count Four, the Government was required to prove the

following elements: (1) there was an agreement with one or more persons, tacit or express, to

undertake to violate 18 U.S.C. § 1513(b)(2); (2) the accused willfully joined the conspiracy; and (3)

the accused’s intent was to accomplish the criminal purpose of the conspiracy. To establish the

object of the conspiracy element, the Government was required to additionally prove that the

agreement, if carried out, would entail (1) that a person would engage in conduct that causes any

person bodily injury or threatens any person with bodily injury; (2) that this conduct would be

performed knowingly, with the specific intent to retaliate against a witness for information the


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 witness divulged to law enforcement authorities about a federal offense; and (3) that the official to

 whom the witness divulged the information was a federal agent or otherwise working on behalf of

 the federal government in some capacity. As previously stated, the Government additionally offered

 to prove that the Defendant had knowledge that the officials to whom Morris divulged information

 were federal agents or working on behalf of the federal government. Thus, the Court so instructed

 the jury, in spite of refusing to so hold in its June 3, 2010, opinion. It is on this final issue of proof

 that Defendant apparently contends evidence was lacking.4

         Defendant’s stipulation of facts was properly admitted into evidence and considered by the

 jury. Although the stipulation was the only direct evidence that Defendant knew that Vincent Morris

 had cooperated with federal authorities, the jury could have found that other evidence so corroborated

 the remainder of the stipulation of facts that it was to be believed in its entirety. As the Supreme

 Court and the Fourth Circuit have instructed, it is sufficient for corroborative evidence merely to

 support or tend to establish the trustworthiness of an admission. See Opper, 348 U.S. at 158; Abu Ali,

 528 F.3d at 235. A reasonable finder of fact could accept the stipulation of facts, coupled with other

 evidence, as adequate and sufficient to support a conclusion of Defendant’s guilt beyond a reasonable



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   The Government, in its responsive memorandum, offers several pieces of evidence from the trial
 purporting to satisfy its burden. The most probative of these evidentiary recitations are (1) Special
 Agent Cunningham’s testimony that “defendant told him that he knew that Mr. Morris had
 cooperated with law enforcement because he had read about it in a prison newsletter . . . where Mr.
 Morris was listed as a rat” and (2) a recording of Defendant remarking about how Mr. Morris had
 “done Pauley,” that Defendant “love[d] Pauley to death,” and that “a snitch is the worst thing that’s
 walkin’.” The Government also cites evidence that other members of the PMC were aware that
 Morris had cooperated with federal authorities. Additionally, the Court notes that Defendant knew
 that Morris was serving time on a federal bank robbery charge, as he was housed in a federal prison
 at which Defendant worked. Defendant knew that Pauley Hysell was incarcerated for the same
 crime at FCI Beckley. These pieces of evidence may or may not independently establish that
 Defendant had knowledge that Morris had cooperated with federal, as opposed to state, authorities.

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 doubt. See Burgos, 94 F.3d at 862. Accordingly, the evidence of Defendant’s knowledge was

 sufficient.

                                        IV. CONCLUSION

         Based on the foregoing analysis, Defendant’s Motion for a New Trial [Docket 2146] is

 DENIED. The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

 the United States Attorney, the United States Probation Office, and the United States Marshal.



                                             ENTER:         December 21, 2010



                                             _________________________________________
                                             THOMAS E. JOHNSTON
                                             UNITED STATES DISTRICT JUDGE




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